Case 8:18-cv-00360-CEH-JSS Document 42 Filed 11/11/19 Page 1 of 2 PageID 272




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

                                                 CASE NO. 8:18-cv-360-T-36JSS
  REGINA TOLLIVER,

         Plaintiff,
  v.

  YOUFIT HEALTH CLUBS, LLC,

        Defendant.
  _____________________________/

                                  NOTICE OF SETTLEMENT

         Notice is hereby given that the parties have reached a settlement in this case. Plaintiff

  respectfully requests that this Court allow sixty (60) days within which to complete the

  settlement, during which time Plaintiff requests the Court to retain jurisdiction over this matter

  until fully resolved and final dismissal paperwork may be filed.



  Dated: November 11, 2019.
                                                 Respectfully submitted,

                                                 /s/ Amorette Rinkleib
                                                 Amorette Rinkleib
                                                 Pro Hac Vice
                                                 Thompson Consumer Law Group, PC
                                                 5235 E. Southern Ave. D106-618
                                                 Mesa, AZ 85206
                                                 (602) 899-9189Telephone
                                                 (866) 317-2674 Fax
                                                 ARinkleib@thompsonconsumerlaw.com




                                                  1
Case 8:18-cv-00360-CEH-JSS Document 42 Filed 11/11/19 Page 2 of 2 PageID 273




                                CERTIFICATE OF SERVICE

         I certify that on November 11, 2019, I filed the foregoing document with the Court

  using CM/ECF, which will send notification of such filing to all counsel of record.

                                               /s/ Amorette Rinkleib
                                               Amorette Rinkleib




                                                2
